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IN THE UNITED STATES DISTRICT COURT FOR THE
NORTHERN DISTRICT OF ILLINOIS

EASTERN DIVISION
MIGUEL GONZALEZ-COLON, )
)
Plaintiff. )
)
Vs. )
) No.
GUCCI AMERICA, INC. )
)
Defendant. )

PLAINTIFE’S COMPLAINT AT LAW

VIOLATION OF TITLE VH OF THE CIVIL RIGHTS ACT

NOW COMES ihe Plaintiff. MIGUEL GONZALEZ-COLON, by his attorneys,
BENJAMIN AND SHAPIRO, LTD. and for Count I of his Complaint at Law against the
Defendant, GUCCI AMERICA, INC., he states as follows:

INTRODUCTION

1. Plaintiff brings this action based on Title VII of the Civil Rights Act, 42 USC §

2000e-2 that states, in pertinent part, as follows:

(a) EMPLOYER PRACTICES: It shall be an unlawful employment practice for
an employer—

(1) to fail or refuse to hire or to discharge any individual, or otherwise to
discriminate against any individual with respect to his compensation, terms,
conditions, or privileges of employment, because of such individual’s race,
color, religion, sex, or national origin; or

(2) to limit, segregate, or classify his employees or applicants for employment in
any way which would deprive or tend to deprive any individual of employment
opportunities or otherwise adversely affect his status as an employee, because of
such individual’s race, color, religion, sex, or national origin.

JURISDICTION

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2. This Court has jurisdiction over the subject matter of this civil action pursuant to
42 USC §2000e-5(f)(3),

VENUE
3. Venue is proper in this judicial district under 42 USC §2000e-2 as the Plaintiff was

employed by the Defendant at the time of the occurrences that he alleges in this Complaint and
plaintiff's employment records are maintained by the Defendant in this judicial district, and
decisions adverse to Plaintiff's employment that are the subject of this civil action were made in
this sudicial district.
PARTIES

4, The Plaintiff, MIGUEL GONZALEZ-COLON is a citizen of the United States and
a resident of the City of Chicago, Illinois. At all times relevant to the suit he was employed by the
Defendant in Rosemont Illinois.

5. Defendant GUCCI AMERICA, INC. is a corporation that is located in New York
City, New York with offices in the City of Chicago and Rosemont, Illinois.

STATEMENT OF FACTS
6. The Plaintiff has been empioyed by the Defendant since October 2018.
7, Beginning on or about April 18, 2020, the Defendant allowed its employees to

harass the Plaintiff in the following ways:

a. called the Plaintiff harassing names, such as “gay boy” or “fag boy;”
b. sexuaily harassing the Plaintiff on multiple occasions
8. As a direct result of one or more of the foregoing acts or omissions, the Defendant

violated its duties under the Civil Rights Act of 1964 by allowing the discriminatory actions of its
employees to verbally. harass the Plaintiff,
9, Due to the Defendant’s harassing and discriminatory conduct toward the plaintiff,

the plaintiff suffered emotional injuries and is currently in treatment for said injuries.

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IDHR CHARGE OF DISCRIMINATION

9, On February 16, 2021, the Plaintiff filed his Charge of Discrimination with the
Illinois Department of Human Rights; the Charge indicates, however, that it was presented to the
Equal Employment Opportunity Commission (EEOC). A copy of the Charge of Discrimination
is attached hereto as Exhibit A.

10. On May 13, 2021 the EEOC mailed to the Plaintiff its “Notice of Right to Sue”
letter stating that if the Plaintiff wished to proceed with this matter, he must file a lawsuit within
90 days of the receipt of this letter. A copy of said “Notice of Right to Sue” letter is attached
hereto as Exhibit B.

PRAYER FOR RELIEF

Accordingly, the Plaintiff prays that the Defendant be cited to appear and to answer in this

action, and that upon the evidence, the finding of the jury and applicable law, the court is requested

to enter judgment as follows:

19. A verdict in the Plaintiffs favor and against the Defendant in an amount in excess
of $75,000.00 to compensate the Plaintiff for physical and emotional damages;

20. The plaintiffs attorney’s fees and costs.

MIGUEL GONZALEZ-COLON

By: = /s/ Scott Skaletsky
Scott Skaletsky

Scott Skaletsky

Benjamin and Shapiro, Ltd.

180 N. LaSaile Street, Suite 2600
Chicago, IL 60601

(312) 641-5944

ARDC #6181405
pleadings@benshaplaw.com

